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 1   McGREGOR W. SCOTT
     United States Attorney
 2   LAUREL J. MONTOYA
     Assistant U.S. Attorney
 3   Federal Courthouse
     2500 Tulare Street, Suite 4401
 4   Fresno, California 93721
     Telephone: (559) 497-4000
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 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )     1:04-cr-05327 AWI
                                                    )
12                         Plaintiff,               )     STIPULATION TO CONTINUE
                                                    )     MOTIONS HEARING
13                  v.                              )
                                                    )
14   ESTANISLOA PULIDO, et al.,                     )
                                                    )
15                                                  )
                           Defendants.              )
16                                                  )

17          The parties herein, through their respective counsel, hereby agree and stipulate that the

18   hearing currently set for July 18, 2006 at 9 a.m. be continued to August 14, 2006 at 9 a.m. and;

19   responses due July 24, 2006 with a reply due August 7, 2006.

20          Pursuant to 18 U.S.C. §3161(h)(i)(F), 3161(h)(8)(A) and 3161(h)(8)(B)(i), we would ask

21   that exclusion of time be granted

22   DATED: June 16, 2006                                 McGREGOR W. SCOTT
                                                          United States Attorney
23
                                                        By /s/ Laurel J. Montoya
24
                                                          LAUREL J. MONTOYA
25                                                        Assistant U.S. Attorney

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       Case 1:04-cr-05327-AWI Document 402 Filed 06/20/06 Page 2 of 4



 1   DATED: June 15, 2006                        /s/ George P. Trejo, Jr.
                                              GEORGE P. TREJO, JR.
 2                                            Attorney for Estanisloa Pulido

 3

 4   DATED: June 15, 2006                        /s/ David A. Torres
                                              DAVID A. TORRES
 5                                            Attorney for Citlali Pulido

 6

 7   DATED: June 15, 2006                        /s/ Nicholas F. Reyes
                                              NICHOLAS F. REYES
 8                                            Attorney for Alejandro Gonzales-DeHaro

 9

10   DATED: June 15, 2006                        /s/ Daniel A. Bacon
                                              DANIEL A. BACON
11                                            Attorney for Efrain Vera Lopez

12

13   DATED: June 15, 2006                        /s/ Gary L. Huss
                                              GARY L. HUSS
14                                            Attorney for Amado Garcia Mejia

15

16   DATED: June 15, 2006                        /s/ Preciliano Martinez
                                              PRECILIANO MARTINEZ
17                                            Attorney for Javier Manzo Lua

18

19   DATED: June 15, 2006                        /s/ J.M. Irigoyen
                                              J.M. IRIGOYEN
20                                            Attorney for Jose Maria Valencia Valencia

21

22   DATED: June 15, 2006                        /s/ Patience Milrod
                                              PATIENCE MILROD
23                                            Attorney for Adalberto Gallardo Chavez

24

25   DATED: June 15, 2006                        /s/ Arturo Hernandez
                                              ARTURO HERNANDEZ
26                                            Attorney for Jose Jesus Pulido-Chavez

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       Case 1:04-cr-05327-AWI Document 402 Filed 06/20/06 Page 3 of 4



 1   DATED: June 15, 2006                        /s/ Roger K. Litman
                                              ROGER K. LITMAN
 2                                            Attorney for Jesus Valencia Pulido

 3

 4   DATED: June 15, 2006                        /s/ Salvatore Sciandra
                                              SALVATORE SCIANDRA
 5                                            Attorney for Cesar Fabian Valencia-Vargas

 6

 7   DATED: June 15, 2006                        /s/ Daniel L. Harralson
                                              DANIEL L. HARRALSON
 8                                            Attorney for Rodrigo DeJesus Zavala-Torres

 9

10   DATED: June 15, 2006                        /s/ Mark Coleman
                                              MARK COLEMAN
11                                            Attorney for Jose Eleazar Garcia Bravo

12

13   DATED: June 15, 2006                        /s/ Carolyn D. Phillips
                                              CAROLYN D. PHILLIPS
14                                            Attorney for Mario Moreno-Zuniga

15

16   DATED: June 15, 2006                        /s/ Caroline McCreary
                                              CAROLINE McCREARY
17                                            Attorney for Jose Luis Gudino Rodriguez

18

19   DATED: June 15, 2006                        /s/ Robert A. Cassio
                                              ROBERT A. CASSIO
20                                            Attorney for Jose Manuel Pena Zavala

21

22   DATED: June 15, 2006                        /s/ Robert L. Forkner
                                              ROBERT L. FORKNER
23                                            Attorney for Jorge Valencia

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        Case 1:04-cr-05327-AWI Document 402 Filed 06/20/06 Page 4 of 4



 1                                               ORDER

 2          IT IS HEREBY ORDERED THAT the motions hearing currently set for July 18, 2006 at 9

 3   a.m. be continued to August 14, 2006 at 9 a.m. and; responses due July 24, 2006 with a reply due

 4   August 7, 2006.

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 6   IT IS SO ORDERED.

 7   Dated:    June 19, 2006                          /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
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